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                     UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

         DHI HOLDINGS, LP;         §    CIVIL ACTION NO.
         AND BRANDON               §    4:24-cv-03914
         MENDENALL,                §
                                   §
               Plaintiffs,         §    JUDGE CHARLES ESKRIDGE
                                   §
                                   §
               vs.                 §
                                   §
                                   §
         U.S. BANK NATIONAL        §
         ASSOCIATION AS            §
         TRUSTEE OF                §
         SPARTAN FUNDING I         §
         TRUST; AND FAY            §
         SERVICING, LLC,           §
                                   §
               Defendants.         §


               JOINT REPORT – PURSUANT TO DOCKET #23

               Pursuant to the Court’s Order (Doc. No. 23),
        Plaintiffs DHI Holdings, LP and Brandon Mendenhall
        (collectively, “Plaintiffs”) and Defendant U.S. Bank
        National Association as Trustee of Spartan Funding I
        Trust (“U.S. Bank as Trustee”) file this Joint Report, and
        would show the court.

               The parties continue to engage in good faith
        discussions regarding potential settlement. As previously
        reported to the Court, this case is one of several pending
        matters between Plaintiff (or affiliates of Plaintiff) and
        Defendant Fay Servicing, LLC involving foreclosure-
        related disputes concerning residential investment



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        properties. The parties initially expressed optimism
        regarding the possibility of a global settlement that would
        resolve this case along with the other actions.

                While a global resolution has not yet materialized
        due to the differing investors involved, progress has been
        made: two of the other related cases have been resolved.
        The parties remain hopeful that a global settlement can
        still be achieved or, alternatively, that this individual case
        may be resolved through further negotiations. In the
        meantime, the parties continue to confer regarding
        discovery and are committed to working cooperatively
        toward a resolution.

              The parties will promptly advise the Court should a
        settlement be reached or if additional court intervention
        becomes necessary.

        Respectfully submitted,


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        3/10/2025                         /s/ Matthew K. Hansen, w/p jcj
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